                                                                       Case 4:19-cv-02033-YGR           Document 317         Filed 10/13/22     Page 1 of 1




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                                                                  2                                     UNITED STATES DISTRICT COURT
                                                                  3                                   NORTHERN DISTRICT OF CALIFORNIA
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                                                                  6   IN RE APPLE INC. SECURITIES LITIGATION             Case No. 4:19-cv-2033-YGR
                                                                  7                                                      ORDER RE STAY
                                                                  8                                                      Re: Dkt. No. 313
                                                                  9

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                                                                 11          The Court GRANTS defendants’ motion to stay the orders at issue in its pending petition for
                                                                 12   certification until resolution of the petition by the Ninth Circuit. The Court does so based on the
                               Northern District of California
United States District Court




                                                                 13   irreversible nature of production, and due to the Supreme Court’s granting of a petition for certiorari
                                                                 14   in in In re Grand Jury, 23 F.4th 1088 (9th Cir. 2021), No. 21-1397 (U.S.).
                                                                 15          This terminates docket number 313.
                                                                 16          IT IS SO ORDERED.
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                                                                 18   Dated: October 13, 2022
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                                                                 19                                                            YVONNE GONZALEZ ROGERS
                                                                                                                           UNITED STATES DISTRICT COURT JUDGE
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